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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


 THE HONORABLE ORDER OF
 KENTUCKY COLONELS, INC.,                                                           Plaintiff,

 v.                                                        Civil Action No. 3:20-cv-132-DJH

 KENTUCKY COLONELS
 INTERNATIONAL et al.,                                                          Defendants.

                                         * * * * *

                               MEMORANDUM OF HEARING

       A preliminary-injunction hearing was held in this matter on March 4, 2020, with the

following counsel participating:

       For Plaintiff:               Cornelius E. Coryell
                                    Julie L. Watts

Defendants failed to appear. The Court heard testimony and received evidence on Plaintiff’s

motion for a preliminary injunction. (Docket No. 7) At the conclusion of the hearing the Court

took the matter under advisement.

       March 4, 2020




                                               David J. Hale, Judge
                                            United States District Court



Court Time: 01/05(c)
Court Reporter: April Dowell




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